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                   U. S. ATTORNEY'S

                   PRESS CONFERENCE

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                   WOMAN:   I'm going to

    introduce everybody and turn it over to

    U. S. Attorney Jay Town who is right here,

    our new U. S. Attorney.

                   And from the IRS criminal

    investigation Lisa Fontanette who is an

    acting special -- assistant special agent

    in charge, and Angel Castillo from the

    FBI, also an acting assistant special

    agent in charge.

                   So with that, I'm going to

    turn it over to U. S. Attorney Town.

    Thank you.

                   MR. TOWN:   Okay.   Appreciate

    the media leaving me plenty of podium

    space here for my, for my announcement

    today.

                   I would like to thank the

    IRS and the FBI for all their hard work in

    this case.   We didn't leave our fight in

    the dressing room, and we were very

    deliberate in our investigation the



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    evidence that we have acquired over the

    last months and years.

                    It's important to note that,

    you know, this process -- the pace of this

    process is not always agreeable to

    everyone, but we have to be deliberate and

    get it right.

                    And it was important that we

    did so in this case, and I believe that we

    have, so special thanks to ASAC Fontanette

    and Castillo to my left and right.

                    Today the United States

    announces a six count indictment against

    David Roberson of Drummond Company, and

    Joel Gilbert and Steven McKinney of the

    Balch & Bingham Law Firm.

                    Count One is conspiracy to

    commit bribery with a public official.

    Count Two is the bribery.

                    Count Three, Four, and Five

    are honest services wire fraud, which is

    using electric or electronic

    communications and payments to devise and



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    provide consideration for this illegal

    scheme.

                   Count Six is the money

    laundering conspiracy which is the scheme

    by which all four of the defendants

    figured out a way to get the money to

    Oliver Robinson.

                   I believe you've all been

    provided a copy of the true bill.      If you

    have not, let us know at the end of the

    press conference and Peggy Sanford will

    make sure that you get a copy of it.

                   I want to give you an

    overview of the essential facts, and then

    the three of us will be available for a

    short period of time for questions.

                   Here's an overview of the

    essential facts.   Drummond hires Balch to

    respond to EPA actions in north

    Birmingham, specifically to their actions

    regarding the 35th Avenue Superfund Site

    which found elevated levels of arsenic,

    lead, and benzopyrenes in the soil



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    samples.   These are chemicals that are

    commonly associated with coal.

                   McKinney and Gilbert are

    hired by Roberson and Drummond to craft

    the response to the EPA.

                   As you all know, at this

    time Oliver Robinson has pleaded guilty,

    and at the time of all of this he was an

    elected official, a member of the Alabama

    State House.

                   He was also the vice

    chairman of the Jefferson County

    legislative delegation.

                   The three defendants

    announced today worked in concert to

    conspire with Robinson to carry their

    interests forward in his official capacity

    to counter the EPA's actions and protect

    their potential financial exposure for the

    cleanup of the Superfund site.     The site

    cleanup could expose Drummond to tens of

    millions of dollars in remediation.

                   In September of 2013 the EPA



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    notified Drummond of their potential

    exposure.

                   In July of 2014, almost a

    year later, the EPA considered a petition

    from the Group Against Smog and Pollution,

    or GASP as it's known, to extend the

    Superfund site to two additional

    neighborhoods in north Birmingham,

    Inglenook and Tarrant.

                   In October of the same year

    EPA granted that petition and it began its

    contacts with the state of Alabama.     What

    happens is then the state and the federal

    agencies start to determine what should be

    done, if anything; and, if so, who pays

    for it.

                   They contacted the Alabama

    Department of Environmental Management, or

    ADEM as you'll hear it commonly referred

    to, and that is the agency which is

    responsible for developing Alabama's

    environmental policies.

                   The governor, Governor



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    Bentley at the time, put ADEM on point to

    handle all interests for the state of

    Alabama as it related to the Superfund

    site.

                   In September of 2014,

    basically an entire year after the EPA got

    on deck, the EPA considered adding the

    35th Street Superfund Site to the National

    Priorities List, which requires priority

    attention from the EPA and allows the

    government to begin cleanup without input

    or agreement from the polluters.

                   This action or consideration

    prompted this conspiracy and these

    criminal actions because of the financial

    exposure that Drummond would likely face,

    especially if the cleanup began without

    their input or negotiation for liability.

                   The governor put ADEM again

    on point to represent the interests of

    Alabama, and it was in context with ADEM,

    among others, that also led to this

    conspiracy and these charges.



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                   Essentially, if you're on

    the NPL, you're a priority designated

    Superfund site, and as a priority

    designated Superfund site, the state and

    Federal Government can begin cleanup

    without negotiating with the polluters,

    and then they'll just come after the

    polluters later.

                   And so the polluters can't

    lock in a liability amount or a

    remediation amount.    They're just going to

    have to be essentially sued by the state

    of Alabama.

                   It's a little more artful

    than as I'm explaining it, but the process

    is basically the state goes and collects

    or the Federal Government goes and

    collects from the polluters the amount it

    cost to remediate the Superfund site as

    opposed to allowing them to negotiate some

    sort of settled amount of responsibility.

    So the exposure is much greater once you

    are on the National Priority List.



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                   There's really three goals,

    three essential goals.    There's certainly

    a lot of other goals to this that are sort

    of in the ether, but the three essential

    goals to the conspiracy were, first, to

    prevent the Superfund site from getting on

    the National Priority List, limit that

    exposure.

                   The second was to prevent

    the Superfund site from expanding into

    additional neighborhoods.

                   And the third was to defeat

    the EPA's actions and the state altogether

    through official state channels.     They

    needed a guy, and that guy was Oliver

    Robinson.

                   They needed someone who is

    known in the area, understood that

    constituency from the north Birmingham

    neighborhoods that were subject to the

    Superfund site.

                   And most importantly, they

    needed someone that was willing to accept



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     a bribe, and Oliver Robinson was that man.

     Oliver Robinson was that public official.

     And Oliver Robinson was that

     co-conspirator.

                    A couple of points about the

     contract.   You'll hear a lot about a

     contract between Balch & Bingham and the

     Oliver Robinson Foundation or with Oliver

     Robinson.   It's all sort of alter ego

     stuff.

                    Couple of points about that

     contract.   One, the lawyers have to

     justify to their accounting department why

     all of this money is going out the door

     from Balch to the foundation, so they have

     to come up with a reason.

                    The total amount of money

     that went out the door from Balch to the

     foundation was roughly $360,000.    Also,

     the contract is nothing more than a clever

     way to craftily create the illusion of a

     defense, that all of this was just cleared

     by other people as legal, we let other



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     folks look at it, and they said that it

     was fine so I just went ahead with it, and

     if Oliver Robinson did something wrong,

     well, we can't control the actions of a

     third person.

                     But unfortunately, the

     defendants indicted today, the

     co-conspirators, did not share all of the

     pertinent information with the principals

     at Drummond and at Balch.

                     They didn't share the fact

     that he was going to be -- Oliver Robinson

     was going to act in his official capacity.

     They simply let the four corners of the

     contract sort of speak for itself, which

     on its face might appear somewhat

     innocuous, but certainly wouldn't have

     what was the behind-the-scenes activities

     of Oliver Robinson in a number of ways--

     and I'll list some of them, just some of

     them in a moment-- acting in his official

     capacity as a public official.

                     That was the purpose of the



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     contract was an illusion.    It was the true

     purpose of the conspiracy and the true

     purpose of the $360,000 that Oliver

     Robinson collected as a result of that

     conspiracy.

                    Those contacted at Drummond

     and Balch about this consulting contract

     were in my judgment duped by these

     co-conspirators and their concealment from

     them the truth of the true purpose of

     their dealings with Oliver Robinson.

                    And frankly, it just further

     underscores the depth of this bribery

     scheme, and it is great evidence of that

     scheme and conspiracy.

                    It was done all under the

     guise of a foundation doing outreach, but

     really what it was was buying a public

     official.

                    The contract itself, and

     you'll see in the indictment,

     paragraph 54, that the Oliver Robinson

     Foundation -- now get this, the Oliver



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     Robinson Foundation in the contract with

     Balch, quote, could not, and this is

     Oliver Robinson is going to be the one

     who's going to go out and do all of these

     things.

                    Oliver Robinson could not

     directly or indirectly engage or be

     concerned or interested in any business or

     activity which conflicts with its services

     to Balch or the interests of Balch as

     determined solely by Balch.

                    Moreover, the contract

     demands that the existence of the

     agreement itself be kept confidential by

     Oliver Robinson.

                    So said differently, go act

     in your official capacity as a public

     official from the area at which the

     Superfund site exists.   If we want your

     opinion, we'll give it to you.    Do what we

     tell you regarding the Superfund site and

     we'll pay you to march in the direction

     you're told, and oh, by the way, keep your



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     mouth shut about this whole thing.

                      That's in the contract

     itself, and that's why it's in the

     indictment.     That ladies and gentlemen, is

     the guts of a conspiracy.     At this level

     that's how conspiracies are born.

                      Some of the official actions

     taken by Oliver Robinson, just some.      It

     included using his official letterhead as

     a state legislator to communicate the

     interests of Balch as was directed by

     Balch to an official Alabama -- Alabama

     Department of Environmental Management, to

     have official conversations in his

     official capacity with Alabama

     environmental agencies and their personnel

     and directors regarding those exclusive

     never-to-conflict-with interests of Balch

     and Drummond.

                      Never once did Oliver

     Robinson indicate to anyone that he talked

     to while in his official capacity as a

     legislator that he had this contract.



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                    Never once did he ever

     disclose this conflict of interest.     Never

     once did he inform folks that he was

     acting on behalf of a law firm and a coal

     company.

                    Robinson also made public

     comments in official meetings representing

     himself in his official capacity but

     presenting the exclusive interests of his

     co-conspirators.

                    Robinson also put forward a

     joint resolution that he voted for, went

     before the House and the Senate, and that

     joint resolution was to the distinct

     advantage, ironically I'm sure, to Balch

     and to Drummond opposing the EPA's

     actions.   Robinson voted for that joint

     resolution.

                    For his trouble, for all of

     this, he received between seven and

     $20,000 a month totaling the 360,000.      His

     first payment was 14,000.    Presumably, he

     was getting first and last month's rent up



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     front.

                    He also made comments before

     the Alabama Environmental Management

     Commission in his official -- in his

     official capacity.

                    And a little bit about the

     lawyers involved.     Both lawyers involved

     in this case created, reviewed and/or

     approved all of the documentation that was

     executed by Oliver Robinson.

                    Both lawyers approved and

     otherwise knew the monetary payments to

     Oliver Robinson.     Both lawyers knew the

     scheme to pass through the money through

     Balch to the foundation, and then have

     Balch reimbursed through either the

     Alliance for Jobs and the Economy or

     Drummond.

                    That scheme further

     underscores the heights of the conspiracy

     here, especially since Roberson as a

     lobbyist couldn't pay any of those monies

     directly to a public official.



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                     The lawyers reviewed and

     crafted talking points for Robinson's

     official appearances.    They reviewed or

     crafted letters for Robinson to address

     the object of the conspiracy to be put on

     his official letterhead.

                     They reviewed and crafted

     the joint resolution.    They constantly

     consulted with one another in their

     preparation of Robinson for his public

     appearances.

                     Basically, McKinney and

     Gilbert were the brains behind every

     public or official action taken by

     Robinson.

                     And why wouldn't they be?

     They helped Drummond buy him, and they

     were getting what they paid for.

                     So in conclusion, in so many

     ways this is the worst type of public

     corruption.    It was all done for the greed

     of a few and at the expense of so many

     families and children living in



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     potentially toxic areas.

                    There's nothing new under

     the sun.   This is about money.    This is

     about limiting exposure for a cleanup.

                    This isn't about the EPA.

     This isn't about overreach.    This is about

     a refusal to take the legal, lawful, and

     legitimate processes that everyone has to

     counter the Federal Government, which I

     believe that everybody should have a right

     to do, and I say that as a member of the

     Federal Government, but you have to go

     through those legitimate processes.

                    You have to do it lawfully.

     You don't get to buy politicians, and,

     frankly, we should all be about tired of

     this.

                    If anyone thinks the EPA or

     any other governmental agency is

     overreaching, there are legitimate

     processes by which everyone is afforded,

     but buying a politician is not one of

     those processes and it certainly isn't



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     legitimate.

                     These charges only reflect

     the unlawful response to a few at the

     expense of many citizens of Alabama.       This

     was nothing more than bean counting in

     some environmental paradigm.    It's cheaper

     to pay for a politician than it is to pay

     for environmental cleanup.

                     That's just a summary.

     There's certainly a lot more to this.

     Before I open it up for questions, I want

     to say that our trial team has worked very

     hard along with our federal partners on

     this case.    They've worked long hours.

                     I've gotten emails at three

     in the morning or five in the morning from

     all of them updating me, updating our

     leadership in our office on this case.       We

     took it very seriously.

                     We had to be deliberate.     We

     couldn't always get the answers to you as

     quick as we would like.    Some of it is

     just procedural.    Some of it is we needed



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     to make sure, but all of it was the right

     way to proceed.

                    So now, that we're here, we

     can answer whatever questions you might

     have.

                    THE REPORTER:     Mr. Gilbert's

     lawyer has already responded saying

     essentially that it was just a lawyer

     doing business for a client.      Can you

     address that directly?

                    MR. TOWN:    Well, look, it's

     an adversarial process, and he's going to

     represent his client zealously.      There's

     -- you know, I've been in this business

     for 20 years and there's nothing he said

     that I didn't expect him to say.

                    So I appreciated his

     comments, but I disagree.      You know, I

     feel very confident about the charges that

     we have here today.

                    THE REPORTER:     Can you say

     when Oliver Robinson began cooperating,

     from the time that he resigned?      And can



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     you explain how y'all came to find out

     about this --

                     MR. TOWN:   Yeah, I'm not

     going to get into like the when.      I think

     if I understand your question correctly is

     when did he start cooperating with the

     Federal Government?

                     Yeah, I'm not going to get

     into that.    I would just, I would just

     simply tell you that he's been a helpful

     witness.

                     THE REPORTER:   (Inaudible.)

                     MR. TOWN:   I'm sorry?

                     THE REPORTER:   Any

     discussion of plea deals with these three

     defendants?

                     MR. TOWN:   No discussion

     about plea deals.     In fact, you know, if

     that's something their lawyers want to

     approach us about, but at this time we're

     just preparing for trial.

                     THE REPORTER:   Can you say

     how y'all came about finding out about



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     this corruption?

                     MR. TOWN:   Well, I mean,

     hard work of federal agencies.     You mean

     how did --

                     THE REPORTER:   (Inaudible)

     some kind of tip or something?

                     MR. TOWN:   Well, yeah,

     you're going to have to wait for all of

     that, all right?

                     So there's -- so there's

     some aspects -- in all honesty and

     sincerity, there's aspects of every

     investigation, even at this point, right,

     where we're announcing we have four

     defendants essentially.     One has already

     pleaded guilty.

                     But there are aspects of it

     that, you know, stuff that might be behind

     the curtain that we just need to save for

     our investigative and prosecutorial

     purposes.    It's not to be void with you at

     all.

                     I would love to tell you



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     everything, but there will be a day

     sometime in the future where we can

     discuss all of this.

                    THE REPORTER:      Are there any

     other indictments anticipated?       Is there

     anybody else in your cross hairs?

                    MR. TOWN:   Not at this time,

     but we're going to continue to review the

     evidence as it comes into us.       I think

     that what the department requires of me

     and my office, and I think what everybody

     in the northern district requires of my

     office is that if we get more evidence, if

     we pursue it, then the agencies to my left

     and my right are going to track it down,

     but as this time these are our four.

                    THE REPORTER:      Are you

     confident that Oliver Robinson is the only

     public official involved in this

     conspiracy?

                    MR. TOWN:   Yes.     Go ahead.

                    THE REPORTER:      How did you

     reach the determination that the other



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     partners at Balch & Bingham and any other

     executives at Drummond Coal were innocent

     dupes getting played by these crooks?

                    MR. TOWN:    Well, again, I

     don't want to comment too much on

     evidence, right, because I don't want this

     to turn into a discovery conference, but

     what I can tell you is the evidence

     supports the conclusions that the folks

     who were indicted from Balch did not

     explain to the powers that be, the folks

     that they would like to say let them, let

     them pursue this contract and these

     monies, they were not given the full

     picture, and I believe that's remarkably

     clear in the evidence.     Sir.

                    THE REPORTER:      Yes,

     Mr. Town, this is coming from Jack

     Sharman's response that the foundation --

     did the foundation do legitimate work, or

     was it primarily all just for all the

     funds?

                    MR. TOWN:    I would say it



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     probably did some legitimate work.         It

     didn't do 360K worth.         That's what I would

     say.    Lauren.

                       THE REPORTER:     Do you expect

     Mr. Robinson to testify should it go to

     trial against these three defendants?

                       MR. TOWN:     I'd say it's a

     pretty safe bet, yeah.

                       THE REPORTER:     How soon will

     it get to trial?

                       MR. TOWN:     I'd be -- I don't

     think we're going to get to it this year.

     I think it will be docketed probably this

     year.

                       Procedurally they will be

     giving a notice to appear and they'll be

     arraigned sometime in the next two weeks.

     The judge will give us a series of

     appearance and court dates, and we'll get

     sort of a calendar together.

                       Mr. McKinney it's my

     understanding if he has an attorney, I

     don't know about him or her, so whoever



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     that is is probably going to need more

     than the rest of this year to get up to

     speed on what is a remarkable amount of

     evidence in this investigation.

                     So I would be surprised if

     we get to it this year, but we're ready to

     go right now.    Yeah.   Kyle Whitmire

     doesn't have a question?     Do you have any

     letters?

                     Go ahead.   We're going to

     give Kyle a minute to come up with

     something.   Archibald was right out of the

     gate.

                     THE REPORTER:   We've seen

     both state and federal cases a number of

     situations where public officials have had

     these consulting contracts at some time.

                     MR. TOWN:   Yeah.

                     REPORTER:   Where is the

     line?

                     MR. TOWN:   Okay, and that's

     a fair question, and I would offer you

     paragraph 54 again because -- in the



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     indictment, because I think what you're

     going to find is the line in the sand is

     not that I can't hire somebody to consult

     with me.

                    If there would have just

     been this outreach to the north Birmingham

     area, I don't think we would be here.       But

     what it was is he acted and they conspired

     for him to act in his official capacity to

     defeat the EPA at the state level.

                    It wasn't -- it wasn't a

     grassroots movement that they bought with

     their 360K.   They bought a politician to

     go to Montgomery and tell agencies and

     officials in the statehouse and the state

     Senate that the EPA is overreaching and we

     need them out of our state.

                    And that was to the benefit

     of Drummond and to the benefit of Balch,

     so I don't know where the line is, but I

     know that's on the other side of it.

                    THE REPORTER:   Who inside

     Balch approved these payments?    I mean,



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     there's some talk in the indictment about,

     about these lawyers going to their billing

     department and having names removed from

     invoices and that sort of thing.

                    MR. TOWN:   Sure.

                    THE REPORTER:   So it seems

     to suggest that the names were on the

     invoices at some point.    Did that not

     raise flags, red flags at Balch --

                    MR. TOWN:   Well, and it may

     have, and I'm not going to comment on

     that, but I don't believe that the folks

     writing checks to the Oliver Robinson

     Foundation, and this, Kyle, I hope answers

     your question, I don't believe they knew

     about the public capacity of this

     consulting agreement because it was no

     where in the four corners of it, but that

     was the activity that was afoot.

                    So they had to come up with

     a reason to justify those payments to the

     foundation, and it couldn't be an illegal

     one so they came up with a legal one and



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     then just did the illegal stuff anyway.

     Does that make sense?

                    WOMAN:   I think we've got

     time for one more question.

                    MR. TOWN:     Go ahead.

                    THE REPORTER:     Okay.   Sorry

     to take the last one.      I know I'm barking

     on something that you guys have basically

     already addressed, but is there any

     inkling, any likelihood, any concern that

     this is somewhat wider spread than what we

     know right now?

                    MR. TOWN:     Well, look, I

     mean, here's, here's I guess what I would

     caution and then I would profer to you is

     that if more evidence comes up that we

     believe we can prove beyond a reasonable

     doubt, we're going to charge those folks.

                    And when I say to you that

     it matters not to me your benefactor or

     station, if you're involved in breaking --

     breaking the law or violating the federal

     law, we're going to charge you if we have



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     evidence of it.

                    So right now our evidence

     supports the four charges we brought, and

     I'm very comfortable with those four

     charges right now.     I've got one more if

     anybody wants to take one more.

                    THE REPORTER:       Why -- where

     is the line of demarcation with, for

     instance, you know, Drummond Company

     actually seems to be benefiting from this

     scheme, right, that's been alleged?

                    MR. TOWN:    Yes.

                    REPORTER:    Because now they

     aren't going to have to pay out this money

     to the EPA or pay for this big issue, this

     cleanup.

                    At what -- what's their

     exposure here, or is it just all on

     Roberson personally?

                    MR. TOWN:    From my office's

     point of view it's all on Roberson.        I --

     at this time there's -- we don't have

     evidence that would support a conclusion



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     that anyone else at Drummond acted in a

     criminal manner that would expose them to

     criminal sanctions.

                      THE REPORTER:   But their

     company benefited from his actions in

     possibly millions of dollars --

                      MR. TOWN:   Well --

                      THE REPORTER:   -- that they

     didn't have to pay out in cleanup costs;

     right?

                      MR. TOWN:   Well, that's --

     and that's a fair comment, but the EPA

     still has their available remedies, so I

     guess what I can say from my office's

     point of view, and I'm using that

     deliberately, Roberson seems to be the

     only one at this time that's going to be

     exposed to any sanction from my office's

     point of view.     Last one, Lauren.

                      THE REPORTER:   Along the

     lines of Kyle's question, was there any

     consideration going after the entities?

                      MR. TOWN:   Don't ever spring



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     one off of Kyle Whitmire.       Could you

     repeat your question?

                     THE REPORTER:     Was there any

     consideration going after the entities?

                     MR. TOWN:   Well, you know,

     we're going to consider it all, but our,

     our best course of action and the course

     of action that we've chosen is to indict

     these four co-conspirators so that's it

     for now for sure.    All right?      All right,

     one more.    Go ahead.   Last one.

                     THE REPORTER:     If they get

     convicted from all of this, is there the

     possibility that the Government may bring

     civil litigation against Drummond or Balch

     & Bingham as owners?

                     MR. TOWN:   Well, I mean,

     we're not going to ever count those

     options out, but at this time we're just

     going to focus on the criminal charges.

     All right.    Thank you, everybody.      I

     appreciate you coming in.

             [Proceedings concluded.]



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     STATE OF ALABAMA     )

     TUSCALOOSA COUNTY    )




             I hereby certify that the above

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             I further certify that I am

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